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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO

 Civil Action No. 1:20-cv-2475-NYW

  Deborah Laufer,
       Plaintiff,
  v.

  Randall J. Looper,
  Cynthia Looper,
  dba Elk Runn Inn,
        Defendants.


                                  SCHEDULING ORDER


                          1. DATE OF CONFERENCE AND
                         APPEARANCES OF COUNSEL AND PRO
                                   SE PARTIES

  Date of Conference: November 19, 2020

  For Plaintiff Deborah Laufer:                  For Defendants:

  Suzette M. Marteny Moore                       Stephen B. Rotter
  S. Moore Law                                   The Workplace Counsel
  2690 S. Combee Road                            1401 Lawrence Street, #1600
  Lakeland, FL 33803                             Denver, CO 80202
  863-229-2140                                   (303) 625-6400


                           2. STATEMENT OF JURISDICTION

        Plaintiff asserts that the Court has subject matter jurisdiction pursuant to 28 U.S.C.

 § 1331 and 1343 because this action arises under the laws of the United States, including

 Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.



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        Defendant asserts the Court does not have subject matter jurisdiction due to

 Plaintiff’s lack of standing as detailed in Defendant’s Motion to Dismiss.


                     3. STATEMENT OF CLAIMS AND DEFENSES

    a. Plaintiffs:

        Plaintiff is a disabled American, an advocate of the rights of similarly situated

 disabled persons and is a "tester" for the purpose of asserting her civil rights and

 monitoring, ensuring, and determining whether places of public accommodation and their

 websites are in compliance with the ADA. Plaintiff alleges that Randall J. Looper owns a

 place of lodging, Elk Run Inn, located at 627 W. Victory Way, Craig, CO 81625, and in

 connection therewith implements, operates, controls and/or maintains an online

 reservations system (“ORS”) that fails to comply with the requirements set forth in 28

 C.F.R. Section 36.302(e). More specifically, prior to filing this action, Plaintiff visited

 Randall J. Looper’s ORS and determined that it did not comply with the Regulations. As

 such, Plaintiff seeks a declaratory judgment that Randall J. Looper has violated Title III of

 the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.; an order enjoining further

 violations; her attorneys’ fees, litigation costs and expenses; and expert’s fees under 42

 U.S.C. § 12205.

        Plaintiff also alleges that she has a “disability” as that term is defined in CADA

 Section 24-34-301 and the Randall J. Looper’s hotel is a place of public accommodation

 within the meaning of the CADA, Section 24-34-601. Defendant’s failure to provide an

 ADA-compliant ORS is unlawful and discriminatory because it denies Plaintiff “the full and
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 equal enjoyment of the goods, services, facilities, privileges, advantages, or

 accommodations of a place of public accommodation” because of her disability. As a

 result thereof, Plaintiff has suffered humiliation, embarrassment, frustration, segregation,

 exclusion, the loss of equality of opportunity and full and equal access to Defendant's

 services and has otherwise been damaged. Accordingly, pursuant to CADA, Section 24-

 34-802, Plaintiff seeks an order requiring compliance with the provisions of the applicable

 section; recovery of actual monetary damages; or an award of a statutory fine not to

 exceed three thousand five hundred dollars and an award of attorney’s fees and costs.

        b: Defendants:

        Plaintiff does not have standing to file the instant lawsuit, is not deprived of any

 rights provided under the ADA or any other laws, and Defendant is in full compliance as

 related to its ORS and otherwise regarding ADA requirements. Defendant may raise other

 defenses as discovery and the investigation proceeds.


                                    b. UNDISPUTED FACTS

 The following facts are undisputed:


        1.     Plaintiff is a resident of Pasco County, Florida.


        2.     Defendants own Elk Run Inn located at 627 W. Victory Way, Craig, CO

 81625 in the County of Moffat.


                             5. COMPUTATION OF DAMAGES


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        Plaintiff seeks an award of statutory damages under the CADA of $3,500, and award of

 attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.


                           6. REPORT OF PRECONFERENCE
                         DISCOVERY AND MEETING UNDER FED. R.
                                     CIV. P. 26(f)

    a. Date of Rule 26(f) meeting. November 12, 2020

    b. Names of each participant and party he/she represented.

  For Plaintiff Deborah Laufer:              For Defendants

  Suzette M. Marteny Moore                   Stephen Rotter
  S. Moore Law                               The Workplace Counsel
  2690 S. Combee Road                        1401 Lawrence Street #1600
  Lakeland, FL 33803                         Denver, CO 80202
  863-229-2140                               (303) 625-6400


    c. Statement as to when Rule 26(a)(1) disclosures were made or will be made.

               Plaintiff: Completed on November 12, 2020. Plaintiff will supplement her
               Initial Disclosures and propound documents identified in her Initial
               Disclosures no later than November 20, 2020.

               Defendant: Will be addressed after the Court rules on pending motions.
               December 4, 2020.


    d. Proposed changes, if any, in timing or requirement of disclosures under Fed. R.Civ. P.

        26(a)(1).


               Plaintiff: None contemplated

               Defendant: Will be addressed after the Court rules on pending motions.
               December 4, 2020.


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   e. Statement concerning any agreements to conduct informal discovery:

              None.

   f. Statement concerning any other agreements or procedures to reduce discovery and

      other litigation costs, including the use of a unified exhibit numbering system.


              Counsel for the parties agree to work together to resolve discovery disputes

              as they may arise. Counsel for the parties will agree on a unified exhibit

              numbering system.


   g. Statement as to whether the parties anticipate that their claims or defenses will involve

      extensive electronically stored information, or that a substantial amount of disclosure or

      discovery will involve information or records maintained in electronic form.


              Plaintiff’s position: Plaintiff’s claims may involve discovery of ESI, but

              such discovery is not anticipated to be “extensive” and in any event is not

              disproportionate to the claims raised herein.

              Defendants:      position:   Defendant      does     not    possess        extensively

              electronically stored information relevant to this matter and is not yet sure

              about what information Plaintiff possesses relevant to the claims and

              defenses in this matter.


   h. Statement summarizing the parties’ discussions regarding the possibilities for promptly

      settling or resolving the case.




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              Plaintiff’s position: Prior to and during the Rule 26(f) conference, the parties

              discussed the possibilities for a prompt settlement, including early

              mediation.

              Defendants’ position: Plaintiff sent a template email to Defendants after

              filing this lawsuit containing three settlement demand options. Defendants

              filed their motion to dismiss and may thereafter discuss settlement, but only

              because litigation is expensive, and Defendants are a mom and pop small

              hotel hit hard by Covid-19.


                                      7. CONSENT

      All parties have consented to the exercise of jurisdiction of a magistrate judge

                            8.   DISCOVERY LIMITATIONS

   a. Modifications which any party proposes to the presumptive numbers of depositions or

      interrogatories contained in the Federal Rules.


              None. Each side may take up to five (5) depositions, including experts, and
              serve up to twenty-five (25) interrogatories, including discrete subparts.


   b. Limitations which any party proposes on the length of depositions.

              None. Each deposition may last up to one day of seven (7) hours.


   c. Limitations which any party proposes on the number of requests for production and/or

      requests for admission.


              None. Each side may serve up to twenty-five (25) requests for production
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              and twenty-five (25) requests for admissions.

   d. Deadline for service of Interrogatories, Requests for Production of Documents and/or

      Admissions:


              45 days before the close of discovery.


   e. Other Planning or Discovery Orders

              None.


                            9. CASE PLAN AND SCHEDULE

   a. Deadline for Joinder of Parties and Amendment of Pleadings:

              January 4, 2021

   b. Discovery Cut-off:

              May 3, 2021

   c. Dispositive Motion Deadline:

              July 31 June 4, 2021


   d. Expert Witness Disclosure

                  1. The parties shall identify anticipated fields of expert testimony, if any.

                                At this time, the parties have yet to determine the fields of

                                expert testimony other than as set forth below:

                                Plaintiff will have one expert witness to testify regarding the

                                website violations.

                                Defendant may have            a rebuttal expert to address

                                allegations of website violations.
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                2. Limitations which the parties propose on the use or number of expert

               witnesses.

                              The parties propose limiting each party to three expert

                      witnesses per side.

                3. The parties shall designate all experts and provide opposing counsel

                   and any pro se parties with all information specified in Fed. R. Civ. P.

                   26(a)(2) on or before –Defendant: March 1, 2021. This includes

                   disclosure of information applicable to “Witnesses Who Must Provide

                   a Written Report” under Rule 26(a)(2)(B) and information applicable to

                   “Witnesses Who Do Not Provide a Written Report” under Rule

                   26(a)(2)(C).


                4. The parties shall designate all rebuttal experts and provide counsel and

                   any pro say party with all information specified in Fed. R Civ. P. 26(a)(2)

                   on or before - April 15, 2021. This includes disclosure of information

                   applicable to “Witnesses Who Must Provide a Written Report” under

                   Rule 26(a)(2)(B) and information applicable to “Witnesses Who Do Not

                   Provide a Written Report” under Rule 26(a)(2)(C).


                Notwithstanding the provisions of Fed. R. Civ. P. 26(a)(2)(B), no exception

                to the requirements of the Rule will be allowed by stipulation unless the

                stipulation is in writing and approved by the court. In addition to the

                requirements set forth in Rule 26(a)(2)(B)(I)-(vi), the expert’s written report
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                      also must identify the principles and methods on which the expert relied in

                      support of his/her opinions and describe how the expert applied those

                      principles and methods reliably to the facts of the case relevant to the

                      opinions set forth in the written report.


      702 Motion Deadline: May 14, 2021.



     e. Identification of Persons to Be Deposed:

          Plaintiff, Deborah Laufer
          Plaintiff’s expert(s)
          Defendant(s)
          Defendant’s expert(s)


                          10. DATES FOR FURTHER CONFERENCES

     a. Status conferences will be held in this case at the following dates and times:

                                                                                                   .


         b.    A final pretrial conference will be held in this case on August 5, 2021 at 10:00

 o’clock a.m. A Final Pretrial Order shall be prepared by the parties and submitted to the court no later

 than seven (7) days before the final pretrial conference.




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                             11. OTHER SCHEDULING MATTERS

    a. Identify those discovery or scheduling issues, if any, on which counsel after a good faith

        effort, were unable to reach an agreement.


                None.


    b. Anticipated length of trial and whether trial is to the court or jury.

                Bench Trial – 2 days


    c. Identify pretrial proceedings, if any, that the parties believe may be more efficiently or

        economically conducted in the District Court’s facilities at the Alfred A. Arraj United

        States Courthouse 212 N. Wahsatch Street, Colorado Springs, Colorado 80903-

        3476; Wayne Aspinall U.S. Courthouse/Federal Building, 402 Rood Avenue,

        Grand Junction, Colorado 81501-2520; or the U.S. Courthouse/Federal Building,

        La Plata County Courthouse 1060 E. 2nd Avenue, Suite 150, Durango, Colorado

        81301.


                None.

                           12. NOTICE TO COUNSEL AND PRO SE
                                          PARTIES

       The parties filing motions for extension of time or continuances must comply with

 D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving

 attorney's client. Counsel will be expected to be familiar and to comply with the Pretrial

 and Trial Procedures or Practice Standards established by the judicial officer presiding



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 over the trial of this case. With respect to discovery disputes, parties must comply with

 D.C.COLO.LCivR 7.1(a). Counsel and unrepresented parties are reminded that any

 change of contact information must be reported and filed with the Court pursuant to the

 applicable local rule.


                      13. AMENDMENTS TO SCHEDULING ORDER

       This Scheduling Order may be altered or amended only upon a showing of good

 cause.

  DATED at Denver, Colorado, this 19th day of November, 20 20.

                                                   BY THE COURT:



                                                  United States Magistrate Judge

  APPROVED:

  s/ Suzette M. Marteny Moore                  s/Stephen B. Rotter
  Suzette M. Marteny Moore                     Stephen B. Rotter
  S. Moore Law, PLLC                           The Workplace Counsel
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  Laufer
